           Case 1:20-cr-00330-AJN Document 328 Filed 08/25/21 Page 1 of 1




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                                                         August 25, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       Pursuant to the Court’s Order, dated August 23, 2021 (Dkt. 325), we write to advise the
Court that defense counsel provided copies of the Court’s August 23rd Order and its August 13th
temporarily sealed Opinion and Order to the intended recipients of the subpoenas or their counsel
via email on August 24, 2021 and August 25, 2021.

                                                         Sincerely,


                                                           /s/ Christian Everdell
                                                         Christian R. Everdell
                                                         COHEN & GRESSER LLP
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                                                         New York, New York 10022
                                                         (212) 957-7600


cc:      All Counsel of Record (By ECF)
